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 8                          UNITED STATES DISTRICT COURT
 9                        CENTRAL DISTRICT OF CALIFORNIA
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11   TRUSTEES OF THE SOUTHERN                       CASE NO.: 5:21-cv-01267-MCS-SP
     CALIFORNIA IBEW-NECA PENSION
12   PLAN, et. al.,
                                                    ORDER REOPENING ACTION,
13                       Plaintiffs,                VACATING PRIOR DISMISSAL,
14                vs.                               AND DISMISSING ACTION WITH
                                                    PREJUDICE (ECF No. 33) (JS-6)
15
16   DVBE ELECTRIC, INC., a California
     corporation; and BRIAN THOMAS
17   ARMSTRONG, an individual,
18                       Defendants.
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20         Pursuant to the Stipulation for Dismissal With Prejudice between Plaintiffs,
21   Trustees of the Southern California IBEW-NECA Pension Plan, et al., and Defendants,
22   DVBE Electric, Inc. and Brian Thomas Armstrong, and good cause appearing therefore,
23   IT IS HEREBY ORDERED:
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25         1.    This action is reopened for the limited purpose of vacating this Court’s Order

26   entered on March 9, 2022, re: Stipulation Reopening Action, Vacating Dismissal, and

27   Retaining Jurisdiction of Action to Enforce Parties’ Settlement;

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                                            1          ORDER DISMISSING ACTION WITH PREJUDICE
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 1         2.    This Court’s Order entered on March 9, 2022, re: Stipulation Reopening
 2   Action, Vacating Dismissal, and Retaining Jurisdiction of Action to Enforce Parties’
 3   Settlement is vacated;
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 5         3.    This action is dismissed with prejudice.
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 7         The Court directs the Clerk to close the case.

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 9   Dated: April 29, 2024                 _______________________________
                                           Honorable Mark C. Scarsi
10                                         United States District Judge
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                                            2           ORDER DISMISSING ACTION WITH PREJUDICE
